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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   (1) MICHAEL JOHN BEALL,                      )
                                                )
                 Plaintiff,                     )
                                                )
   v.                                           )   Case No.: CIV-21-00351-JFH-JFJ
                                                )   (Formerly Craig County District
   (2) M.L. BALES                               )   Court Case No.: CJ-2021-0038)
   TRANSPORTATION, LLC, a limited               )
   liability corporation and                    )
   (3) MICHAEL DEWAYNE BALES,                   )
                                                )
                 Defendants.                    )

                                           ANSWER

         Defendants, M.L. Bales Transportation, LLC, a limited liability corporation and

  Michael Dewayne Bales ("Defendants"), for their Answer to Plaintiff's Petition, allege and

  state as follows:

         1.     Defendants admit that Plaintiff is a citizen and resident of Illinois, as alleged

  within numerical paragraph 1 of Plaintiff’s Petition.

         2.     Defendants admit that M.L. Bales Transportation, LLC is a foreign limited

  liability company with its principal place of business in Missouri, as alleged within numerical

  paragraph 2 of Plaintiff’s Petition.

         3.     Defendants admit that Michael Dewayne Bales is a citizen and resident of

  Missouri as alleged in numerical paragraph 3 of Plaintiff’s Petition.
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         4.      Defendants admit that Defendant Bales was operating a semi-truck and trailer

  eastbound on Interstate 44 at the time of the accident. Defendants further admit that debris

  fell from his trailer.

         5.      The allegations contained within numerical paragraph 5 of Plaintiff’s Petition

  are presently unknown at this time. Thus, denied.

         6.      Defendants admit that Defendant Bales was acting within the course and scope

  of his employment at the time of the accident giving rise to this lawsuit. Further, he was

  driving a semi-tractor trailer furnished to him by Defendant M.L. Bales Transportation, LLC.

         7.      The allegations contained within numerical paragraph 7 of Plaintiff’s Petition

  are denied.

         8.      The allegations contained within numerical paragraph 8 of Plaintiff’s Petition

  are denied.

                                     AFFIRMATIVE DEFENSES

         1.      Plaintiff’s injuries/damages, to the extent they exist, were caused, in whole or

  in part, by the negligence of a third-party or parties over whom Defendants had no control

  and for whose acts Defendants are not responsible.

         2.      If it is shown that Defendants, or any other person acting on behalf of

  Defendants, were negligent in any way, which negligence is specifically denied, the

  negligence of the Plaintiff exceeds any such negligence on the part of Defendants, thereby

  barring Plaintiff from recovery.


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         3.      If Plaintiff has been injured or damaged, Plaintiff’s injuries or damages were

  the result of an unavoidable accident or sudden emergency.

         4.      Any damages which Plaintiff did or may have suffered were the result of

  superseding and/or intervening causes for which Defendants cannot be held responsible.

         5.      Plaintiff failed to mitigate his alleged damages.

         6.      Plaintiff has failed to state a claim upon which relief can be granted.

         7.      Defendants were not negligent and were not the proximate cause of any injuries

  suffered by Plaintiff.

         8.      If Plaintiff suffered any injuries, which is specifically and expressly denied,

  said injuries are the result of a pre-existing condition(s) or subsequent accident(s), which

  were neither caused nor aggravated by Defendants, and for which Defendants cannot be held

  responsible.

         9.      Plaintiff’s medical treatment was unreasonable and unnecessary.

         10.     Statute of Limitations.

         11.     Plaintiff had the last clear chance to avoid the accident.

         12.     Failure to join a party under 12 O.S. §2019.

         13.     Agency is not in dispute. Thus, any claims for negligent hiring, retention,

  supervision, and maintenance fail as a matter of law. See generally, Jordan v. Cates, 1997

  OK 9, ¶15, 935 P.2d 289; and, N.H. v. Presbyterian Church (U.S.A.), 1999 OK 88, ¶ 20, 998

  P.2d 592.


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         14.    Plaintiff’s recovery of medical bills is limited to the amounts actually paid. 12

  O.S. § 3009.1.

         15.    In further defense, Defendants reserve the right to list additional affirmative

  defenses or assert additional claims as discovery progresses and additional information

  becomes known to these Defendants.

         WHEREFORE, having fully answered, the Defendants, M. L. Bales Transportation,

  LLC, and Michael Dewayne Bales, respectfully request that judgment be entered in their

  favor and that they be awarded all costs expended in the defense of this matter, and such

  other and further relief as this Court may deem just and proper.

                                                    Respectfully submitted,


                                                    s/ Lauren N. Watson
                                                    Paul M. Kolker, OBA No. 18749
                                                    Brad L. Roberson, OBA No. 18819
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                                                    ATTORNEYS FOR DEFENDANTS


  JURY TRIAL DEMANDED




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                               CERTIFICATE OF SERVICE

         I hereby certify that on September 15, 2021, I electronically transmitted the attached
  document to the Clerk of Court using the ECF System for filing. Based on the records
  currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
  following ECF registrants:

         Kelly Bishop, Esquire

                                                    s/ Lauren N. Watson
                                                    For the Firm




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